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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


UNITED STATES SECURITIES AND EXCHANGE                            19 Civ.        ( )
COMMISSION,                                                      ECF CASE

                                      Plaintiff,                         COMPLAINT

                                                                         JURY TRIAL
        - against -
                                                                         DEMANDED
COLLECTOR' S COFFEF~dIb/a COLLECTORS
CAFE), and MYKALAI KONTILAI,

                                      Defendants.


        Plaintiff, United States Securities and Exchange Commission (the "SEC"), for its

Complaint against defendants Collector's Coffee, d/b/a Collectors Cafe ("Collectors Cafe"), and

Mykalai Kontilai (collectively, the "Defendants"), alleges:

                               SUMMARY OF ALLEGATIONS

               Mykalai Kontilai, through his entity Collectors Cafe, raised millions of dollars by

representing to investors that they would use the funds to develop a website for the auction of

collectibles such as sports memorabilia, as well as an affiliated social network and television

show.
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       2.      Rather than using funds as the Defendants represented to investors, Kontilai

misappropriated more than $6.1 million to fund his lavish lifestyle, funneling approximately $1.9

million to his personal bank accounts, and withdrawing another $4.2 million in cash. Kontilai

actively tried to conceal his misappropriation from investors by funneling their money through

his associate's bank accounts and from the SEC staff by fabricating documents.

               In addition to these cash withdrawals and transfers, Kontilai also misappropriated

investor funds to purchase a variety ofluxury goods and services (including from Chanel, Louis

Vuitton, and Cartier), to pay gambling expenses, and to rent an oceanfront condo in Miami.

       4.      Additionally, Collectors Cafe and Kontilai misrepresented to investors numerous

material facts about Collectors Cafe's business, including Kontilai's improper use of investor

funds, Kontilai's personal investment in Collectors Cafe, the number of dealers signed up to sell

inventory on its online platform, and Collectors Cafe's interest in certain assets, including two

original contracts signed by the legendary Jackie Robinson.

       5.      As a result of Collectors Cafe and Kontilai's fraudulent conduct they were able to

raise approximately $23 million from at least 140 investors since Apri12014, at least one-quarter

of which Kontilai misappropriated and used for personal expenses.

                                SUMMARY OF VIOLATIONS

       6.      As a result ofthe conduct described herein, Defendants Collectors Cafe and

Kontilai obtained money or property on the basis offalse and misleading statements and

omissions, and made material false and misleading statements and omissions. Accordingly,

Collectors Cafe and Kontilai have violated and, unless restrained and enjoined, will continue to




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violate Section 17(a)(2) ofthe Securities Act[15 U.S.C. § 77q(a)(2)] and Section 10(b) ofthe

Exchange Act[15 U.S.C. § 78j(b)] and Rule lOb-5(b)thereunder [17 C.F.R. § 240.1Ob-5(b)].

        7.     As a result ofthe conduct described herein, Defendants Collectors Cafe and

 Kontilai engaged in a scheme to defraud and have violated and unless restrained and enjoined

 will continue to violate Section 17(a)(1) and (3) ofthe Securities Act[15 U.S.C. § 77q(a)(1) and

(3)], Section 10(b) ofthe Exchange Act[15 U.S.C. § 78j(b)] and Rule lOb-5(a) and (c)

thereunder [17 C.F.R. § 240.1Ob-5(a) and (c)].

             NATURE OF THE PROCEEDINGS AND REQUESTED RELIEF

       8.      The SEC brings this action pursuant to the authority conferred upon it by Section

20(b) ofthe Securities Act of 1933 ("Securities Act")[15 U.S.C. §§ 77t(b)] and Section 21(d) of

the Securities Exchange Act of 1934("Exchange Act")[15 U.S.C. § 78u(d)]. The SEC seeks

permanent injunctions against each ofthe Defendants, enjoining them from future violations of

Section 10(b) ofthe Exchange Act[15 U.S.C. § 78j(b)], and Rule lOb-5 [17 C.F.R. § 240.1Ob-5]

promulgated thereunder and Section 17(a) ofthe Securities Act[15 U.S.C. § 77q(a)],

disgorgement of all ill-gotten gains from activity set forth in this Complaint, together with

prejudgment interest, and civil penalties pursuant to Section 20(d)(1) ofthe Securities Act[15

U.S.C. § 77t(d)(1)] and Section 21(d)(3)(A)[15 U.S.C. § 78u(d)(3)(A)] ofthe Exchange Act.

                                JURISDICTION AND VENUE

       9.      This Court has jurisdiction over this action pursuant to Sections 20(b), 20(d), and

22(a) ofthe Securities Act[15 U.S.C. §§ 77t(b), 77t(d), and 77v(a)], and Sections 21(d), and 27

ofthe Exchange Act[15 U.S.C. §§ 78u(d), and 78aa].




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        10.    Defendants, directly or indirectly, made use ofthe means or instruments of

transportation or communication in interstate commerce,the means and instrumentalities of

interstate commerce, or ofthe mails, in connection with the acts, practices, and courses of

business set forth in this Complaint.

        1 1.   Venue lies in this Court pursuant to Section 22(a) ofthe Securities Act and

Section 27(a) ofthe Exchange Act. Defendant Collectors Cafe is a private company founded,

owned, and controlled by Defendant Kontilai with a principal place of business in this District,

Defendant Kontilai's primary place of residence is in this District, and many ofthe acts,

practices, transactions, and courses of business alleged in this Complaint occurred within this

District.

        12.    On or about April 1, 2019, the SEC and Defendants entered into a tolling

agreement as ofApril 1, 2019, tolling conduct back to April 1, 2014.

                                        DEFENDANTS

        13.    Collector's Coffee (d/b/a Collectors Cafe), is a private company founded, owned,

and controlled by Kontilai with its principal place ofbusiness in New York, New York. The

Company was incorporated in California on or about May 14, 2007(as Ultimate Collector Inc.), and

subsequently reorganized as a Nevada C corporation via merger on or about February 22,2008.

        14.    Mykalai Kontilai (f/k/a Michael Contile), age 49, is the founder, president, and

chief executive officer of Collectors Cafe. Kontilai's primary place of residence is New York,

New York. Kontilai owns 100 percent ofthe voting shares of Collectors Cafe.
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                                             FACTS

I.     Kontilai Raised Money From Investors for Collectors Cafe.

       15.     Collectors Cafe was incorporated in or around 2007 with a business plan to build

brick-and-mortar coffee houses at which collectors would congregate and have the ability to

purchase collectibles.

       16.     In or around 2009, Collectors Cafe moved away from its plan to build coffee

houses because ofthe associated costs with retail stores. Collectors Cafe's business plan then

evolved to its current plan, which involves the creation of an online website for collectibles and

an associated television show. Collectors Cafe has described its website as a combination of an

auction site and a social networking site.

       17.     Between 2007 and 2013, Collectors Cafe raised approximately $3.75 million from

investors from the sale of convertible promissory notes and Series A Preferred shares. In 2013,

C~Ilectors Cafe raised $4 million through Series A Convertible Notes ("Series A Notes"). Then,

from approximately Apri12014 through approximately December 2018, Collectors Cafe raised

approximately $21 million from the sale of Series A Preferred shares and Series B preferred

shares and $2 million from Series B Promissory Notes (collectively, the "Collectors Cafe

Offerings").

       18.      Collectors Cafe and Kontilai used multiple offering documents when raising

funds pursuant to the Collectors Cafe Offerings. In particular, Collectors Cafe raised money

from investors through at least two different versions ofa Private Placement Memorandum

("PPM"),each dated Apri128, 2008.




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       19.     One version of the PPM was created when Collectors Cafe intended to build

coffee houses where collectors would meet(the "Coffee House PPM"). Defendants used the

Coffee House PPM with investors prior to 2014, and at least two investors in 2014 received

versions ofthis PPM.

       20.    A second version ofthe PPM (the "Social Media PPM")is also dated Apri128,

2008, but was updated and shortened after Collectors Cafe moved its business plan away from

constructing coffee houses.

       21.    Defendants used the Social Media PPM,as modified by amendments dated

February 1, 2015, October 15, 2015, April 12, 2016, and January 1, 2017, with investors who

invested from 2015 forward.

II.    Collectors Cafe and Kontilai Made False, Fraudulent, and Material
       Misrepresentations and Omissions in Connection with the Collectors Cafe
       Offerings.

       22.    In raising funds from investors pursuant to the Collectors Cafe Offerings,

Defendants Kontilai and Collectors Cafe made numerous written and oral material false and

misleading statements and omissions regarding, among other things, the use of investor

proceeds, Kontilai's investment in Collectors Cafe, the number of dealers and amount of

inventory on Collectors Cafe's website, and the extent ofCollectors Cafe's ownership ofthe

Jackie Robinson baseball contracts along with their value.

       A.     Material Misrepresentations and Omissions Regarding Kontilai's Use of
       Investor Funds.

       23.    Defendants Collectors Cafe and Kontilai made material misrepresentations and

omissions regarding the use of investor proceeds that were misappropriated by Kontilai.
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        24.    Throughout the Collectors Cafe Offerings, by way of written documents and

disclosures sent to investors as well as oral communications made to investors, Collectors Cafe

and Kontilai represented to investors that it would use investor funds to pursue its stated business

plan.

        25.    Throughout the Collectors Cafe Offerings, the written materials provided to

investors and potential investors described the intended use of investors' money and did not

disclose the type and magnitude of Kontilai's personal use oftheir money:

   a. Collectors Cafe's standard practice with potential investors was to give them a high level

        overview ofthe Company,then set up a Web-Ex through which investors could see a

        mock-up ofthe website, and then to send them offering documents, including either the

        Coffee House PPM or the Social Media PPM,ifthe investors were interested in

        investing.

   b. Prior to receiving a PPM,some investors, including Investors A-E, received

        demonstrations of Collectors Cafe's proposed website.

   c. Some investors, including Investor A on or about October 2, 2014, Investor F on or about

        September 3, 2014, Investor G on or about February 24, 2015, and Investor K on or about

        March 1, 2016, received a written business plan for Collectors Cafe ("Business Plan")

   d. At least two versions of Collector Cafe's Business Plan(one from 2014 and one from

        2016)stated,"The offering presented in the PPM is for the General Purpose ofincreasing

        Operating Capital ofthe Company, in preparation for initial growth and launch of our

        website, national television shows and completion ofthe retail center and television

        studio at Caesar's Palace."


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       In an email to all investors dated Apri123, 2016, which was drafted by Kontilai and sent

       out by his assistant on behalf of Collectors Cafe, Kontilai and Collectors Cafe stated that

       it sought to raise money for "the specific upcoming growth initiatives (outlined below),"

       which were then described as the production and distribution ofa Chinese and Spanish

       language version ofthe Collectors Cafe TV Series and a partnership with Warner Music

       Group.

       26.      These representations were false when made because Kontilai always intended to

use investors' money for personal use, did use investors' money for personal use, and ultimately

misappropriated more than 25% ofthe money raised, including $6.1 million in cash in addition

to extravagant charges on Collectors Cafe's credit cards.

       27.      In fact, from at least 2014 forward, Kontilai had no source of personal income

other than misappropriating investor money.

       28.      The monies misappropriated by Kontilai were not salary nor compensation, as

there is no employment agreement between Kontilai and Collectors Cafe that permitted Kontilai

to draw a salary or other form ofcompensation.

       29.      Moreover; in order to induce investments, and mislead investors and potential

investors into believing their investments would be used to further Collector Cafe's stated

business goal, Collectors Cafe and Kontilai told investors that Kontilai did not, and would not,

take a salary or other compensation from Collectors Cafe:

   a. Kontilai told potential investors, including Investor F (orally prior to the investor's

       investment in or around September 2014), Investor H (orally prior to the investor's

       multiple investments in or around September 2016, Apri12017 and Apri12018), and
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       Investor G(by email on or about September 30, 2015), that he was not taking a salary or

       being compensated.

   b. In the email to Investor G dated September 30, 2015, Kontilai wrote "I am very frugal

       and have not taken a dime ofsalary to date."

   c. On a phone call soliciting investors for additional investments on or about February 6,

       2017, an agent on behalf of Collectors Cafe and, on information and belief, under the

       direction ofKontilai, highlighted that Kontilai had not taken a salary in over 10 years.

       30.    The investor funds misappropriated by Kontilai were also not loan repayments, as

Kontilai did not loan money to Collectors Cafe, there were no loan agreements that permitted

Kontilai to make loan repayments to himself from Collectors Cafe, nor was it disclosed to

investors that their funds would be used to repay Kontilai for purported loans) he made to

Collectors Cafe.

       31.     As described more fully below, on or about May 14, 2018, Kontilai

misrepresented to the SEC staffthat money he misappropriated from Collectors Cafe was in fact

legitimate transfers of money to repay Kontilai for obligations owed to him by Collectors Cafe.

In support of his assertions, Kontilai knowingly created and presented the SEC staff with

fabricated documents(an employment agreement, loan agreement, and bank statement) in an

effort to mislead the SEC and further conceal his misappropriation ofinvestor funds.

       32.     A reasonable investor would have understood from Collector Cafe's disclosures

and Defendants' statements that Kontilai's personal use of investors' funds was not an intended

use oftheir investments.
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       33.     Each ofthe above disclosures and representations regarding Collector Cafe's use

of investor proceeds were false when made, and Defendants knew, were reckless in not knowing,

or should have known, that their statements concerning the intended use of investors' money

were false and misleading.

       34.     Defendants omitted to state material facts that were necessary to render their

disclosures and representations regarding Collector Cafe's use of investor proceeds not

misleading.

       35.      The above misrepresentations and omissions as to use of investor proceeds were

material to investors and potential investors because, among other things, they believed their

investments would be used to further the stated business goal in order to create profits and a

return on their investment, and because the company money used for personal purposes by

Kontilai would necessarily decrease the amount of money available to Collectors Cafe to

effectuate its business plan.

       B.      Material Misrepresentations and Omissions Regarding Kontilai's Personal
               Investment in Collectors Cafe.

       36.     Defendants Collectors Cafe and Kontilai made material misrepresentations and

omissions with respect to Kontilai's personal investment(or lack thereofl in Collector's Cafe.

       37.     Throughout the Collectors Cafe Offerings, Collectors Cafe and Kontilai

represented to investors and potential investors, including Investor C (during aweb-ex

presentation on or about February 6, 2015), Investor E (during phone calls in our about

August 2016), and Investor H (orally prior to the investor's multiple investments in or around

September 2016, April 2017 and Apri12018), that he had personally invested $5 million in



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Collectors Cafe. Kontilai told other investors, such as Investor F (orally prior to his investment

in or around September 2014), that he had invested a significant amount of his own money.

       38.     On a phone call soliciting investors for additional investments on or about

February 6, 2017, an agent on behalf of Collectors Cafe and, on information and belief, under the

direction of Kontilai, highlighted that Kontilai had invested $5 million in Collectors Cafe.

       39.     Each of the above representations regarding Kontilai's investment in Collectors

Cafe was false and misleading because Kontilai did not invest(nor loan)$5 million to Collectors

Cafe, nor did Kontilai invest or loan a significant amount of his own money to Collectors Cafe.

       40.     In fact, as alleged above and more fully described below, in an effort to mislead

the SEC and conceal his fraud, Kontilai created and produced to the SEC a fabricated loan

agreement purporting to document a $5 million loan to the company.

       41.     A reasonable investor would have understood from Collectors Cafe's disclosures

and Defendants' statements that Kontilai invested $5 million of his own money into Collectors

Cafe and that that money was available to Collectors Cafe to use to further its business plan,

served as an incentive to Kontilai to successfully follow through on its business plan, and

validated Kontilai's confidence in the future success ofthe business.

       42.     Each ofthe above disclosures and representations regarding Kontilai's investment

in Collector's Cafe were false when made, and Defendants knew, were reckless in not knowing,

or should have known,that their statements concerning Kontilai's investment in Collectors' Cafe

were false and misleading.




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       43.     Defendants omitted to state material facts that were necessary to render their

disclosures and representations regarding Kontilai's investment in Collectors' Cafe not

misleading.

       44.     The above misrepresentations and omissions as to Kontilai's investment in

Collectors' Cafe were material to investors and potential investors because, among other things,

it indicated that $5 million had been made available to Collectors Cafe by Kontilai to further its

business plan, that Kontilai was strongly incentivized to successfully follow through on

Collectors' Cafe business plan since his own money was at risk, and that Kontilai was in fact

confident in the future success ofthe business because he invested a significant amount of

money into Collectors Cafe.

       C.      Material Misrepresentations and Omissions Regarding Dealers and
               Inventory on Collectors Cafe's Website.

       45.     Defendants Collectors Cafe and Kontilai made material misrepresentations and

omissions with respect to the number of dealers and the amount ofinventory on Collector Cafe's

website.

       46.     Collectors Cafe and Kontilai represented to investors in the Collectors Cafe

Business Plan that Collectors Cafe would receive 20% from the buyer and 20%from the seller

on all sales made through the Collectors Cafe auction website. These commissions from future

sales of collectibles on Collectors Cafe's website was the main stated revenue driver for

Collectors Cafe's business.




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       47.     Throughout the Collectors Cafe Offerings, Collectors Cafe and Kontilai touted

that a large number of dealers were committed to sell a large volume of inventory of collectibles

on Collectors Cafe's website:

   a. Kontilai stated in a short video designed to promote Collectors Cafe that was on its

       website and emailed to numerous investors that Collectors Cafe had a "master dealership

       made up of hundreds of dealers."

   b. Kontilai represented to investors, including Investor B (orally in or around March 2015),

       Investor C (orally in or around February 2015), Investor E (orally in or around August

       2016)and Investor I (orally in or around Apri12016)that there was billions of dollars of

       inventory available on Collectors Cafe's website.

   c. Kontilai told some investors, including Investors A (orally in or around October 2014)

       and Investor E (orally in or around August 2016), that he had hundreds of dealers signed

       up.

   d. Kontilai also told investors, including Investor B (orally in or around March 2015)and

       Investor E (orally in or around August 2016), that the dealers were signed up under 10

       year contracts.

       48.     These statements were false and misleading. In reality, in preparation for

Collectors Cafe's so-called soft launch in 2016, three dealers had signed a "basic dealer

agreement" that expired within 180 days of execution and did not obligate the dealer to put any

specific quantity of inventory on Collector Cafe's website.

       49.     As of August 2018, only three dealers had ever posted inventory to Collectors

Cafe's website, the website was not active at that time and most ofthe inventory was non-


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exclusive inventory from one dealer who also had a physical store in New York City. Inventory

sold through that dealer's store or on his own website would not result in a commission for

Collectors Cafe.

       50.     At the time of these representations, Collectors Cafe and Kontilai knew that

Collectors Cafe had not signed up anywhere near the number of dealers they were representing

and further knew that it would have been prohibitively expensive to do so, as Collectors Cafe

would have been responsible for hiring photographers to take photographs ofthe dealers' items,

drafting descriptions and cataloging the items, and then uploading this information onto its

website.

       51.     A reasonable investor would have understood from Collector Cafe's disclosures

and Defendants' statements that hundreds of dealers had agreed to post a large amount of

collectibles on Collectors Cafe's website worth upwards of a billion dollars, that the anticipated

volume of dealers and inventory committed to the website correlated directly with anticipated

investor profit, and that the increased profits and success would increase the likelihood that a

large company would be interested in acquiring Collectors Cafe.

       52.     Each ofthe above disclosures and representations regarding the volume of dealers

and inventory committed to Collectors Cafe's business were false when made, and Defendants

knew, were reckless in not knowing, or should have known,that their statements concerning the

volume of dealers and inventory committed were false and misleading.

       53.     Defendants omitted to state material facts that were necessary to render their

disclosures and representations regarding the volume of dealers and inventory committed to

Collectors Cafe's business not misleading.


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        54.     The above misrepresentations and omissions as to the volume of dealers and

 inventory committed to Collectors Cafe's business were material to investors and potential

 investors because, among other things, the volume of dealers and inventory committed to

 Collectors Cafe's business was directly tied to the future profits and success ofthe company. In

fact, it was the expected high volume of sales of collectibles on Collectors Cafe's website that

 Kontilai touted to bring Collectors Cafe a profit.

        D.      Material Misrepresentations and Omissions Regarding the Jackie Robinson
                Contracts.

        55.     Defendants Collectors Cafe and Kontilai made material misrepresentations and

 omissions with respect to the ownership and valuation of baseball contracts signed by Jackie

Robinson.

        56.     Collectors Cafe and Kontilai represented to investors and potential investors that

(i) Collectors Cafe owned contracts signed by Jackie Robinson; and (ii) the contracts had been

appraised at $36 million. Defendants representations were false and misleading and omitted

 material facts necessary to render these statements not false and misleading, because (i)

 Collectors Cafe did not own a 100% interest in the contracts and was not entitled to all proceeds

 from the sale ofthe contracts; and (ii) there was substantial doubt about the $36 million

 valuation, including an appraisal of$10 million that was provided to Collectors Cafe and

Kontilai.




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       57.       Collectors Cafe acquired the two baseball contracts signed by Jackie Robinson in

or around 2013: a contract Robinson signed with the minor league Montreal Royals in 1945 and

a contract that he signed with the major league Brooklyn Dodgers in 1947. Collectors Cafe

acquired these contracts for approximately $2 million.

       58.       Collectors Cafe touted the Jackie Robinson contracts as a major asset of the

company:

       a. In the Second Amendment to the Social Media PPM,the Company stated "The

             Company successfully concluded its second private capital raise in April of 2010.

             The company has been fully funded to complete its final launch tasks since that date.

             It remains in a strong financial position with a positive cash position as well as having

             acquired a collectibles asset which has been appraised at $36,000,000. This asset was

             acquired at an undervalued price of$2,000,000 and is likely to generate millions of

             dollars of additional cash flow upon its liquidation in 2015." The Social Media PPM

             was provided to most investors who invested after 2014 with at least 100 investors

             having received it.

       b. Kontilai represented to at least two investors — Investor A (orally in or around

             October 2014) and Investor F (orally in or around August-September 2014) —that

             their investment was "secured" or "protected" by the valuation ofthe Jackie Robinson

             contracts.

       c. Kontilai led another investor, Investor H,to believe that the value ofthe Jackie

             Robinson contracts protected his investment by describing the contracts as a tangible

             asset ofthe company that had not yet earned revenue.


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        59.     These statements were false and misleading. In reality, Collectors Cafe only

owned a fraction ofthe Jackie Robinson contracts, was only entitled to a fraction ofthe proceeds

from the sale ofthe contracts and the sale ofthe contracts was expected to be for far less than

$36 million.

        60.     Defendants representations that Collectors Cafe owned the Jackie Robinson

contracts were false and misleading and omitted material facts, because Collectors Cafe did not

own a 100% interest in the contracts and was not entitled to 100% ofthe proceeds from their

sale:

   a. In connection with the acquisition ofthese contracts in 2013, Collectors Cafe entered into

        six "Series A Notes"(as amended)that totaled $4 million and stated that the loan

        proceeds would be used for acquisition ofthe contracts and "working capital purposes."

   b. Under the terms ofthe Series A Notes, the holders ofthose notes are entitled to a return

        of50% of any net proceeds from the sale ofthe Jackie Robinson contracts. Net proceeds

        is calculated as(a)the purchase price paid by an unrelated third party buyer for the

        contracts less(b)the payoff amount ofthe Series A Notes less(c) without duplication

        any principal, interest, default interest, fees and costs already paid under the Series A

        notes less(d)any reasonable expenses associated with the contracts, but excluding their

        purchase price.

   c. The following year, in 2014, Collectors Cafe entered into two Series B Secured

        Promissory Notes (the "Series B Notes")that totaled $2 million, which were payable

        upon the sale ofthe Jackie Robinson contracts.




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   d. Once Collectors Cafe receives its portion ofthe net proceeds, it must repay the Series B

       Notes.

   e. In addition to the Series A Notes and Series B Notes, Collectors Cafe has contracted to

       give three other parties a portion ofthe proceeds.

       61.      Additionally, by no later than January 20, 2016, Defendants representations about

the $36 million valuation were false and misleading and omitted material facts, because Kontilai

had credible information indicating that the contracts were worth much less than $36 million:

   a. On January 20, 2016, Kontilai received an Insurance Appraisal Report regarding the two

       Jackie Robinson contracts that was prepared by a confidential broker, authenticator and

       appraiser using final bids from several auction houses specializing in sports history and

       reference to high value historic documents.

   b. This report values the Jackie Robinson contracts at $10 million.

   c. The confidential broker, authenticator and appraiser disclosed to Kontilai that he was

       receiving pushback for even a $10 million valuation.

       62.      Neither Collectors Cafe nor Kontilai disclosed to investors or prospective

investors that the $36 million valuation likely overvalued the contracts, or that on or about

January 20, 2016, that they received an Insurance Appraisal Report valuing the Jackie Robinson

contracts for only $10 million, or that they were told that there was resistance to even a $10

million valuation.

       63.      On information and belief, Kontilai was aware that the $36 million appraisal of

the Jackie Robinson contracts overvalued the asset by a significant amount at the time ofthe

appraisal and prior to receiving the $10 million appraisal. In fact, the overvaluation of the Jackie


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Robinson contracts was not only confirmed by the subsequent $10 million appraisal described

above, but further borne out when the individual who appraised the contracts for $36 million

offered to buy the contracts for less than $8 million, which Defendants appear to have accepted.

The final documents for this sale were recently circulated to all parties for execution. Because of

Collector Cafe's fractional ownership and duty to repay promissory notes, it is expected to

receive less than $2 million.

       64.     A reasonable investor would have understood from Collector Cafe's and

Kontilai's disclosures and statements about the ownership interest ofthe Jackie Robinson

contracts that Collectors Cafe owned 100% ofthe contracts, were entitled to 100% ofthe

proceeds from any sale ofthe contracts, and expected to receive $36 million upon the sale ofthe

contracts.

       65.     Each ofthe above disclosures and representations regarding the ownership and

valuation ofthe Jackie Robinson contracts were false when made, and Defendants knew, were

reckless in not knowing, or should have known,that their statements concerning the ownership

and valuation ofthe Jackie Robinson contracts were false and misleading.

       66.     Defendants omitted to state material facts that were necessary to render their

disclosures and representations regarding the ownership and valuation ofthe Jackie Robinson

contracts not false and misleading.

       67.      The above misrepresentations and omissions as to the ownership and valuation

ofthe Jackie Robinson contracts were material to investors and potential investors because,

among other things, the value of Collectors Cafe's assets safeguarded investors against the

potential failure ofthe company, and because it would be important to investors to understand


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that Collectors Cafe would receive substantially less than $36 million upon the sale ofthe

contracts.

       E.      Collectors Cafe and Kontilai Are Each Liable for Their Misstatements and
               Omissions.

       68.     All ofthe misrepresentations and omissions detailed above were made in

connection with the offer, purchase, or sale of securities issued by Collectors Cafe.

       69.     Collectors Cafe and Kontilai both obtained money by means ofthe

misrepresentations and omissions detailed above.

       70.     Kontilai made or directed each misrepresentation and omission detailed above.

       71.     Kontilai determined the content of and had ultimate authority over the PPMs, as

well as marketing materials, Internet websites, and other documents and emails used to solicit

prospective investors. Kontilai had sole control of Collectors Cafe, and he personally made the

oral representations detailed above.

       72.     Similarly, Collectors Cafe made the representations Kontilai made. Kontilai had

authority to make representations on behalf of Collectors Cafe, and did in fact make

representations on behalf of Collectors Cafe.

       73.     At all times, Collectors Cafe and Kontilai acted with the requisite scienter.

III.   Collectors Cafe and Kontilai Engaged in a Scheme to Defraud Investors.

       74.     From no later than Apri12014 through the present, Collectors Cafe and Kontilai

engaged in a scheme to defraud the Collectors Cafe investors, and engaged in numerous acts,

practices or courses of business that defrauded the Collectors Cafe investors. Acts in furtherance

thereof include the false and misleading statements, omissions, and other conduct described

above, and the acts described below.

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        A.       Concealment of Misappropriation of Investor Funds

        75.      Despite the representations that Collectors Cafe would use investor money to fund

specific aspects of the business and did not allow for Kontilai to use investor funds to pay

personal expenditures and fund his lavish lifestyle, and despite Kontilai's representations that he

was "very frugal" and was not even taking a salary, Kontilai misappropriated at least $6.1

million from Collectors Cafe in the form ofcash withdrawals and transfers to Kontilai's personal

accounts. Kontilai used these funds for personal expenses.

       76.       Kontilai attempted to conceal many ofthese transfers by running investor funds

through bank accounts of his associate.

       77.     In or around 2012, Kontilai asked his associate, G.H., to set up a bank account in

her name. Kontilai told G.H. that he planned to transfer money into the account and then direct

her to withdraw money from the account in cash and provide it to him.

       78.     Kontilai instructed G.H. that, if a bank employee asked questions about the cash

withdrawals, G.H. was to tell the bank employee that she was a consultant to Collectors Cafe and

that the money was for the purchase of collectibles, which could be acquired at a better price if

cash was used.

       79.     This instruction was intended to conceal, and further, Defendants' fraudulent

scheme because Collectors Cafe and Kontilai knew at the time of instructing G.H. to open the

bank accounts, through the time of directing the withdrawals ofcash, that Collectors Cafe would

not purchase collectibles with the funds.

       80.     G.H. opened a new bank account at Kontilai's instruction on March 14, 2012.

       81.     From 2012 to 2014, Kontilai obtained investors' money in the form of cash in the


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following manner:

             a. Kontilai directed transfers offunds invested with Collectors Cafe to G.H.'s

                accounts;

             b. Shortly after a deposit of investor money into G.H.'s account, G.H. withdrew the

                same amount by visiting bank branches in person. Kontilai accompanied G.H. in

                nearly every instance when she withdrew the money.

             c. Kontilai directed G.H. to immediately give the cash to Kontilai after it was

                withdrawn and G.H. complied.

             d. Between approximately the end of2012 through March 2014, approximately $3.3

                million was pilfered in this manner. Between April 1, 2014 and December 20,

                2018, Collectors Cafe transferred approximately $2.1 million to Kontilai via

                G.H's accounts.

       82.      In or around July 2018, Kontilai told G.H.that he again needed help to transfer

cash to himself from Collectors Cafe. Kontilai told his associate that he needed the money to

maintain his lifestyle and that because of an investigation by the SEC, it would not look good if

Kontilai withdrew the money himself.

       83.      On or about July 10, 2018, Kontilai, through Collectors Cafe, transferred

$250,000 to G.H.'s personal account("Bank Account 1")

       84.      On or about July 11, 2018, G.H. obtained a cashier's check from the same bank

account for $250,000. G.H. delivered the check to Kontilai at his apartment in New York City.

       85.      On or about July 11, 2018, Kontilai requested that G.H. use her account from

another bank ("Bank Account 2")to receive transfers from Collectors Cafe. On or about the


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same day, at the direction of Kontilai, the $250,000 cashier's check from Bank Account 1 was

deposited in Bank Account 2.

       86.     Kontilai also instructed G.H. to open an account at a separate bank,("Bank

Account 3")to receive transfers from Collectors Cafe.

       87.     On or about July 11, 2018, in addition to the $250,000 cashier's check deposited

into Bank Account 2, Kontilai transferred $375,000 into Bank Account 2 and an additional

$375,000 into Bank Account 3. These funds, belonging to Collectors Cafe, were subsequently

misappropriated by Kontilai.

       88.     In addition to withdrawing cash at the direction of Kontilai from the accounts to

which he had transferred Collectors Cafe funds, Kontilai instructed G.H.to use the money he had

transferred into the accounts to purchase gold bars online that were delivered to her apartment in

New York.

       89.     At Kontilai's direction, G.H. turned over all the gold bars to Kontilai.

       90.     Kontilai then sold the gold bars for cash.

       91.     Kontilai also used Collectors Cafe's credit cards and transfers from Collectors

Cafe's account for personal expenses.

       92.     These charges include rent on an oceanfront condo in Miami,tuition at a private

school in Las Vegas, expenses at gentleman's clubs, stays at a luxury resort in Miami over New

Year's Eve, and various personal items at high-end stores such as Chanel, Louis Vuitton, Saks

Fifth Avenue, Cartier, and Rolex.

       93.     Kontilai never disclosed to any of his investors or prospective investors that

money he received from the sale of Collectors Cafe securities would be used for anything other


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than the Collectors Cafe business, much less that he would use investor money to fund his lavish

lifestyle.

        B.     Fabrication of Documents

        94.    In furtherance of his scheme to misappropriate and misuse investor money, and to

conceal and obfuscate his scheme from the SEC and others, Kontilai fabricated multiple

documents with the intent to create the appearance that transfers from Collectors Cafe to himself

were legitimate.

        95.    On May 14, 2018, Kontilai produced to the SEC a fabricated employment

agreement that purportedly provided Kontilai the right to a salary from Collectors Cafe.

        96.    The purported employment agreement provided to the SEC was backdated, and

contains a forged signature of G.H.(who was involved in the cash transfers as described above)

that misidentified her as "Chairman ofthe Board."

       97.     G.H. never signed this purported employment agreement and never served as

"Chairman ofthe Board."

       98.     Kontilai knew the copy ofthe purported employment agreement produced to the

SEC was fabricated at the time he produced it to the SEC.

       99.     Kontilai produced the fabricated copy ofthe purported employment agreement to

the SEC- with the intent to mislead the SEC and others into believing that Collectors Cafe was

contractually obligated to pay funds to Kontilai.

        100.   Kontilai also produced to the SEC a copy of a loan agreement purporting to

document a $5 million loan from Kontilai to Collectors Cafe. That loan agreement was




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purportedly signed by Kontilai and G.H., and again misidentified G.H. as Chairman ofthe

Board.

         101.   Kontilai attached to the loan agreement a bank statement purporting to reflect the

$5 million deposit into a Collectors Cafe's account in an effort to corroborate his claim that he

leant Collectors Cafe $5 million.

         102.   The Collectors Cafe bank statement produced to the SEC is a fabricated

document. The actual bank statement reflects a deposit of$1,000 into the account of Collectors

Cafe, not $5 million. Kontilai altered the bank statement and provided the altered version to the

SEC.

                               FIItST CLAIM FOR RELIEF
                  Fraud (Misstatements and Omissions): Section 10(b)of the
                              Exchange Act and Rule lOb-5(b)
                                    (All Defendants)

         103.   The SEC realleges and incorporates by reference paragraphs 1 through 102, as

though fully set forth herein.

         104.   Collectors Cafe and Kontilai, directly or indirectly, acting with scienter, by use of

the means or instrumentalities of interstate commerce, or ofthe mails, or of a facility of a

national securities exchange, in connection with the purchase or sale ofa security, made untrue

statements of material fact or omitted to state material facts necessary in order to make the

statements made, in light ofthe circumstances under which they were made, not misleading.

         105.   By virtue ofthe foregoing, Collectors Cafe and Kontilai, directly or indirectly,

violated and, unless restrained and enjoined, will again violate Section 10(b) ofthe Exchange

Act [15 U.S.C. § 78j(b)] and Rule lOb-5(b)[17 C.F.R. § 240.1Ob-5] thereunder.



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                              SECOND CLAIM FOR RELIEF
                 Fraud (Misstatements and Omissions): Section 17(a)(2) of the
                                       Securities Act
                                    (All Defendants)

        106.    The SEC realleges and incorporates by reference paragraphs 1 through 102, as

though fully set forth herein.

        107.    Collectors Cafe and Kontilai, directly or indirectly, in the offer or sale of

securities, by use ofthe means or instruments of transportation or communication in interstate

commerce or by use ofthe mails, acting with the requisite state of mind, obtained money or

property by means of an untrue statement of material fact or omission to state a material fact

necessary in order to make the statements made, in light ofthe circumstances under which they

were made, not misleading.

        108.    By virtue ofthe foregoing, Collectors Cafe and Kontilai, directly or indirectly,

violated and, unless restrained and enjoined, will again violate Section 17(a)(2) ofthe Securities

Act[15 U.S.C. § 77q(a)(2)].

                             THIRD CLAIM FOR RELIEF
        Fraud (Scheme): Section 10(b) of the Exchange Act and Rule lOb-5(a) and (c)
                                    (All Defendants)

        109.    The SEC realleges and incorporates by reference paragraphs 1 through 102, as

though fully set forth herein.

        1 10.   Collectors Cafe and Kontilai, directly or indirectly, acting with scienter, by use of

the means or instrumentalities of interstate commerce, or ofthe mails, or of a facility of a

national securities exchange, in connection with the purchase or sale of a security: employed

devices, schemes, or artifices to defraud; or engaged in acts, practices, or courses of business

which operated or would operate as a fraud or deceit upon another person.

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        111.   By virtue ofthe foregoing, Collectors Cafe and Kontilai, directly or indirectly,

each violated, and, unless restrained and enjoined, will again violate Section 10(b)[15 U.S.C.

§ 78j(b)] ofthe Exchange Act and Rule lOb-5(a) and (c)[17 C.F.R. § 240.1Ob-5(a) and (c)]

thereunder.

                            FOURTH CLAIM FOR RELIEF
                Fraud (Scheme): Section 17(a)(1) and (3) of the Securities Act
                                    (All Defendants)

       1 12.   The SEC realleges and incorporates by reference paragraphs 1 through 102, as

though fully set forth herein.

       1 13.   Collectors Cafe and Kontilai, directly or indirectly, in the offer or sale of

securities, by use ofthe means or instruments oftransportation or communication in interstate

commerce or by use ofthe mails, acting with the requisite state of mind, employed a device,

scheme, or artifice to defraud and engaged in transactions, practices, or a course of business

which operated or would operate as a fraud or deceit upon purchasers.

       1 14.   By virtue ofthe foregoing, Collectors Cafe and Kontilai, directly or indirectly,

violated and, unless restrained and enjoined, will again violate Section 17(a)(1) and (3)ofthe

Securities Act[15 U.S.C. § 77q(a)(1) and (3)].

                                       RELIEF SOUGHT

       WHEREFORE,the SEC respectfully requests that this Court:

                                                 I.

       Find that Defendants violated the securities laws and rules promulgated thereunder as

alleged against them herein;




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                                                II.

        Enter an Injunction, in a form consistent with Rule 65(d) ofthe Federal Rules of Civil

Procedure, permanently restraining and enjoining the Defendants from violating the laws and

rules alleged against them in this Complaint;

                                                III.

       Order Defendants to disgorge all ofthe ill-gotten gains from the violations alleged in this

complaint, and ordering them to pay prejudgment interest thereon;

                                                IV.

       Order Defendants to pay civil money penalties pursuant to Section 20(d) ofthe Securities

Act [15 U.S.C. § 77t(d)] and Section 21(d)(3) ofthe Exchange Act[15 U.S.C. § 78u(d)(3)]; and

                                                V.

       Grant such other and further relief as this Court deems just and proper.

                                       JURY DEMAND

       The SEC demands a trial by jury on all claims so triable.


Dated: May 14, 2019




                                             Gregory A. Kasper(NY2735404; SDNY GK6596)
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